42 F.3d 1404w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.WEIGHT WATCHERS INTERNATIONAL, INC.;  Weight Watchers ofGreater Washington State, Inc., Plaintiffs-Appellants,v.FEDERAL TRADE COMMISSION;  Janet T. Steiger;  Mary L.Azcuenaga;  Deborah K. Owen;  Roscoe B. Starek,III, Defendants-Appellees.
    No. 93-35850.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Oct. 6, 1994.Decided Nov. 25, 1994.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    